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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                              :
                                                      :
                                                      :
               v.                                     : Docket No.: 24-cr-10259-DJC
                                                      :
                                                      :
MATTHEW FARWELL                                       :


                              NOTICE OF APPEARANCE


       Assistant Federal Public Defender Jane F. Peachy hereby enters her appearance

on behalf of the defendant, Matthew Farwell, in the above-entitled matter.

                                                          Respectfully submitted,
                                                          MATTHEW FARWELL
                                                          By his Attorney,

                                                          /s/ Jane F. Peachy
                                                          Jane F. Peachy
                                                            B.B.O.# 661394
                                                          Assistant Federal Public Defender
                                                          Federal Defender Office
                                                          51 Sleeper Street, 5th Floor
                                                          Boston, MA 02210
                                                          (617) 223-8061


                             CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on August 29, 2024.

                                                      /s Jane F. Peachy
                                                      Jane F. Peachy
